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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                            CRIMINAL 13-0124CCC
1) EVELIO ROSARIO-ROSADO,
a/k/a “Casper,” a/k/a “Cuquito,”
a/k/a “Cuqui,” a/k/a “El Boss” (Counts One
through Six)
2) JOSE ARNALDO JORGE-ORTIZ,
a/k/a “Joito” (Counts One through Five)
3) REY XAVIER MERCADO-SANTIAGO,
a/k/a “Kobe,” a/k/a “Coby” (Counts One
through Six)
4) CHRISTIAN PIZARRO-ROHENA,
a/k/a “Pizarro,” a/k/a “Piri” (Counts One
through Five)
5) JOSE D. MACHICOTE-FILOMENO,
a/k/a “Pichón” (Counts One through Six)
6) JAN C. CASTILLO-RIVERA, a/k/a “Billy”
(Counts One through Six)
7) JESUS MANUEL TORRES-MORALES,
a/k/a “Bebito,” “Bebito Trenza,” “Bebo,”
“Bebo Trenza” (Counts One through Six)
8) SAMUEL GARCIA-BAEZ, a/k/a “Persa”
(Counts One through Six)
9) MIGUEL RIVERA-GONZALEZ,
a/k/a “Cachao” (Counts One through Six)
10) VINCENT O. MATOS-SANTIAGO,
a/k/a “Peewee” (Counts One through Six)
11) XAVIER RODRIGUEZ-ROJAS,
a/k/a “Xavy” (Counts One through Five)
12) RAUL CANDELARIO-MONSERRATE,
a/k/a “Bebo Casco,” a/k/a “Casco” Counts
One through Five)
13) JOSEPH RIVERA-BAEZ,
a/k/a “Dracula” (Counts One through Five)
14) BENJAMIN RIVERA-VELAZQUEZ,
a/k/a “Benji” (Counts One through Five)
15) JOSE M. RIVERA-VELAZQUEZ,
a/k/a “José Gemelo,” a/k/a “Gemelo”
(Counts One through Five)
16) FRANCISCO M. SANCHEZ-BASORA,
a/k/a “Franki,” a/k/a “Franqui” (Counts One
through Five)
17) NORGIE MATOS-ROHENA (Counts
One through Five)
18) JOSE ROBERTO ANDUJAR-UBILES,
a/k/a “Roberto El Gordo,” a/k/a “Robert
El Gordo” (Counts One through Five)
19) ROBERTO PIZARRO-FIGUEROA,
a/k/a “Sonson” (Counts One through Five)
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20) EFRAIN HERNAIZ-ROJAS,
a/k/a “Papin” (Counts One through Five)
21) JORGE LUIS DIAZ-MUÑIZ,
a/k/a “Menor” (Counts One through Five)
22) FRANKIE ACABA-RODRIGUEZ,
a/k/a “Peluche” (Counts One through Five)
23) DANIEL MARTES-GARCIA,
a/k/a “Negro” (Counts One through Five)
24) ANDREW IRIZARRY-GARCIA (Counts
One through Five)
25) JULIUS CASADO-RAMIREZ,
a/k/a “Tico” (Counts One through Five)
26) NATANEL ANDALUZ-CURET,
a/k/a “Jeremías,” a/k/a “Gere” (Counts One
through Five)
27) JOSE A. MALDONADO-CASTAÑER,
a/k/a “Joselito” (Counts One through Five)
28) JOHAN SORIANO-CURET,
a/k/a “Tremba,” a/k/a “Canito” (Counts One
through Five)
29) XAVIER O. MALDONADO-NEGRONI,
a/k/a “Mana” (Counts One through Five)
30) ALBERTO MALCON-MATOS,
a/k/a “Lento” (Counts One through Five)
31) SERGIO RODRIGUEZ-RODRIGUEZ,
a/k/a “Wally Feca” (Counts One through
Five)
32) DAVID HERNANDEZ-PEREZ,
a/k/a “Davisito,” a/k/a “Ezequiel” (Counts
One through Five)
33) ALEXANDRA LOPEZ-PEREZ,
a/k/a “Alex” (Counts One through Five)
34) MARIA DEL CARMEN CURET-ORTIZ,
a/k/a “Carmen,” a/k/a “Carmencita” (Counts
One through Five)
35) CARLOS N. VELEZ-CURET,
a/k/a “Carlitos,” a/k/a “El Carlito” (Counts
One through Five)
36) YOXSAIRA ROBLES-RIVERA,
a/k/a “Gisel,” a/k/a “Yiset” (Counts One
through Five)
37) ANGEL L. PICKARD-RODRIGUEZ,
a/k/a “Tomate” (Counts One through Five)
38) JOSE VALLE-MEDINA, a/k/a “Didiel”
(Counts One through Five)
39) ANGEL M. OLIVERAS-SAETTONE,
a/k/a “Bouncer” (Counts One through Five)
40) CHAYANNE
SANTODOMINGO-CARRASQUILLO,
a/k/a “El Cantante” (Counts One through
Five)
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 41) NOEL A. BAEZ-MONTAÑEZ,
 a/k/a “Milhouse” (Counts One through Five)
 42) JOSE RIVERA-JIMENEZ,
 a/k/a “Blackie” (Counts One through Five)
 Defendants



                                          ORDER

       Having considered the Report and Recommendation filed on August 2, 2013 (docket
entry 371) on a Rule 11 proceeding of defendant [13] Joseph Rivera-Báez held before
U.S. Magistrate Judge Silvia Carreño-Coll on July 29, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his rights
and the consequences of pleading guilty and contains all elements of the offense charged
in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since July 29, 2013. The sentencing hearing is set for October 30,
2013 at 4:40 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on August 26, 2013.



                                                  S/CARMEN CONSUELO CEREZO
                                                  United States District Judge
